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                           IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW JERSEY - CAMDEN VICINAGE
__________________________________________
                                            :
JOSEPH SAMOST,                              :
14311 Nieves Circle                         :
Winter Garden, Florida 34787                :
                                            :     CIVIL ACTION
                      Plaintiff,            :     NO.
                                            :
       v.                                   :
                                            :
STEPHEN D. SAMOST                           :
5 Keswick Drive                             :
Voorhees, New Jersey 08043                  :
               and                          :
                                            :
DEVEL, LLC                                  :
479 Centennial Blvd.                        :
Voorhees, New Jersey 08043                  :                                     :
               and                          :
                                            :
CENTENNIAL LAND & DEVELOPMENT               :
CORP.                                       :
479 Centennial Blvd.                        :
Voorhees, New Jersey 08043,                 :
                                            :
                      Defendants.           :
_________________________________________ :


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                                          COMPLAINT

       Plaintiff Joseph Samost, (“Joseph Samost” or “Plaintiff”) brings this action against

Defendants Stephen D. Samost (“Stephen Samost”), Devel, LLC (“Devel”), and Centennial Land

and Development Corp. (“CLDC”) (collectively, “Defendants”), and alleges as follows:

                                        Nature of Action

       1.     The present case is substantially related to the resolution of the litigation in this

Court before the Honorable Joseph E. Irenas, U.S.D.J. (“Judge Irenas”) involving the Plaintiff

and Defendant, Stephen Samost back in 2000 in the matter Samost v. Samost, et al, Civil Action

No. 99-3035 (JEI) (the “Federal Case”). While the Court retained jurisdiction of that matter

until 2007 to enforce the settlement, or resolve any disputes relating thereto, the present dispute

between the parties to the settlement did not arise until after the Court’s retention of jurisdiction

expired pursuant to its term.

       2.     As described in more detail herein below, the resolution of the Federal Case

involved a complex break up of family-owned assets, largely consisting of vast swaths of real

estate assets, located around Southern New Jersey. Given the intrinsic nature of real estate

development and the length of time between acquisition and the ultimate sell-off of subdivided

lots to end purchasing homeowners, the resolution of that multifaceted business divorce carried

with it the specter of future disputes arising between the parties well beyond the expiration of

the Court’s 2007 retention of jurisdiction.

       3.     This case presents a prime example of such a dispute: as described in more detail

below, a New Jersey regulatory agency, the New Jersey Department of Environmental

Protection (“NJDEP”), and an association of a subdivision homeowners (the “Centennial

Pines Club” or the “Pines Club”) filed suit in New Jersey state court in May, 2004 seeking to

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compel the Plaintiff and the Defendants here to maintain and repair a dam, a lake, lakebed,

adjacent embankment, and surrounding property on real estate assets that were transferred to the

exclusive ownership and/or control of the Defendants pursuant to the 2000 settlement of the

Federal Case (the “State Court Case”)

      4.        As such, though the Federal Case was resolved well over a decade ago and the

parties have moved on with their respective lives, the impact of that settlement are still affecting

events today.

      5.        On March 9, 2012, the Court in the State Court Case handed down a ruling

apportioning liability for the dam repairs at 45% Plaintiff, 45% Defendant, and 10% Pines Club.

In so ruling, as described more fully below, the State Court did not assess responsibility as

between the Plaintiff and the Defendants for any claims for indemnification and/or contribution,

thus preserving such claims for subsequent litigation.

      6.        Accordingly, in this action, Plaintiff asserts claims for (a) declaratory relief

declaring that Defendants are jointly and severally responsible to indemnify Plaintiff and hold

him harmless for any responsibility for the repair and maintenance of the Centennial dam; (b)

specific performance compelling Defendants to perform their obligations under the 2001

settlement of the Federal Case, including their obligation to maintain and repair the dam; (c)

breach of contract resulting from the Defendants’ failure or refusal to abide by the obligations

under the aforesaid settlement; (d) unjust enrichment based upon Defendants’ unjustified

retention of Plaintiff’s contribution for liabilities for which the Defendants are plainly

responsible under the Federal Case settlement; (e) tortiously interfering with Plaintiff’s rights

under its agreement with the Centennial Pines Club; and (f) for judgment seeking equitable




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subrogation against the Defendants for any liability to which the Plaintiff has been assessed

liability in the State Court Case.

                                               Parties

          7.    Plaintiff is a citizen of the State of Florida, and resides at 14311 Nieves Circle,

Winter Garden, Florida 34787.

          8.    Defendant Samost is a citizen of the State of New Jersey, and resides at 5

Keswick Drive, Voorhees, New Jersey 08043.

          9.    Defendant Devel is a New Jersey limited liability company with its principle

place of business at 479 Centennial Blvd., Voorhees, New Jersey 08043. Its sole member is

Stephen Samost, please see paragraph 9 above. Therefore, Devel is a citizen of New Jersey.

          10.   Defendant CLDC is a New Jersey corporation with its principle place of business

at 479 Centennial Blvd., Voorhees, New Jersey 08043. Therefore, CLDC is a citizen of New

Jersey.

                                      Jurisdiction and Venue

          11.   This is an action pursuant to 28 U.S.C. §2201 et seq. for declaration of rights and

legal obligations under certain Orders of this Court entered in the matter of Joseph Samost, et al

v. Stephen Samost, et al (Docket No. 99:3035 (JEI)) (as defined in paragraph 1 above, the

“Federal Case”). As such, this Court has subject matter jurisdiction in the matter pursuant to 28

U.S.C. §1331.

          12.   Additionally, the court has subject matter jurisdiction over this action under 28

U.S.C. § 1332 because diversity of citizenship exists between the Plaintiff and the Defendants,

and the amount in controversy exceeds $75,000.00, exclusive of interest and costs.




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       13.     Venue is proper in this judicial district under 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claims occurred within this district,

and because the Defendants have consented to this Court’s jurisdiction. (See paragraphs 40 and

41 below).

                             FACTS COMMON TO ALL COUNTS

       14.     Plaintiff refers to paragraphs 1 through 13 and incorporates them herein by

reference.

               Pines Club and Centennial Lake Dam

       15.     In December, 1985 CLDC entered into a certain Agreement with the Pines Club,

an association of homeowners in the real estate subdivision adjacent to the Centennial Lake &

Dam. In pertinent part, the Agreement provides that ownership of the Centennial Lake Dam

was to be transferred to the Pines Club when 90% of the waterfront lots and 50% of the

secondary lots surrounding the lake were developed (the “Triggering Events”).

       16.      Pending the transfer of title of the lake property to the Pines Club, however,

CLDC retained responsibility for maintaining, managing and controlling the Centennial Lake

dam.

       17.     Since 1988, the NJDEP had been contacting Stephen Samost regarding the need

to rehabilitate the Centennial Lake Dam. At all times relevant hereto, the NJDEP expressly

acknowledged that, as owner of the dam, it was CLDC’s responsibility to maintain the dam, and

not the Plaintiff here, Joseph Samost.

       18.     In or about early 2000, the Pines Club claimed that the 1985 Agreements were

breached, and consequently asserted claims against CLDC, Stephen Samost and Plaintiff for (a)

alleged costs for “treatment and maintenance” of Centennial Lake from 1989 through 2000, in



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an amount in excess of $150,000 (One Hundred Fifty Thousand Dollars), and (b) for additional

funds needed for repairs to the Centennial Lake Dam.

       19.    In November 2001, the Pines Club and Joseph Samost settled their claims for

beach and lake maintenance costs. As per the settlement terms between the Centennial Pines

Club and Joseph Samost and his related entities, Joseph Samost agreed to pay to the Centennial

Pines Club a total of $50,000 (Fifty Thousand Dollars).

       20.    Just prior to the 2001 settlement between the Pines Club and Joseph Samost for

beach and lake maintenance costs, Joseph Samost and Steven Samost had settled the Federal

Case in July 2000. Pursuant to the settlement terms, all of the stock of CLDC was transferred to

Devel, an entity wholly owned and controlled by Stephen Samost.

       21.    In 2003, the Triggering Events described in paragraph 16 above occurred,

permitting for the transfer of right, title, interest and estate in the Centennial Lake lakebed, dam,

and beach to the Pines Club. However, due to Defendants’ failure to properly maintain the dam

in accordance with the terms of the 1985 Agreements, the Pines Club refused to take ownership

of the Centennial Lake lakebed, dam, and beach pursuant to the 1985 Agreements.

       22.    Notwithstanding Pines Club’s refusal to transfer ownership, on July 22, 2004,

Defendant Stephen Samost caused CLDC to file a Deed conveying ownership of dam, lake and

beach to Pines Club.

       23.    As a result of a Motion filed by the Pines Club in the State Case, this Deed was

subsequently rescinded in December, 2004, pending a final resolution of all claims between all

parties.




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                The Federal Case Litigation Between Plaintiff and Defendant, and July 2000
                Settlement

       24.      On or about June 29, 1999, Plaintiff and various other related parties filed the

Federal Case against the Defendant, Stephen Samost, and multiple related companies relating to

the ownership and control of various assets, including real estate assets valued in the tens of

millions of dollars.

       25.      In or about July, 2000, Plaintiff and Stephen Samost entered into a settlement of

the Federal Case pursuant to which Plaintiff, Joseph Samost, and other related parties

transferred their interests in many real estate assets, including the real estate comprising of the

Centennial Lakes subdivision, lake and lakebed, dam and surrounding property, to Defendant,

Stephen Samost,, and other parties related to him.

       26.      Although the parties agreed to the basic framework of this settlement in July,

2000, the implementation of the settlement, and the transfers of assets contemplated thereby,

took a considerable amount of time to complete.

       27.      In accordance therewith, on August 31, 2001, Judge Irenas issued a

comprehensive Order relating to the implementation of the parties settlement, which included

the following:

                       On July 21, 2000, the parties settled the within action. Disputes arose
                       as to the details of the implementation, but the parties agreed that the
                       essential elements of a settlement had been reached.

(Exh. “A”, Order of the Court Dated August 31, 2001, Signed by Judge Irenas, at Pg. 3, ¶ 1)(the “August

31st Order”).


       28.      In the August 31st Order, Judge Irenas issued several rulings on disputed issues

which delineated the mechanics of the settlement, and consistent therewith appointed retired

New Jersey Superior Court Judge L. Anthony Gibson to act as a Special Master to adjudicate any
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further disputed issues relating to the settlement and its implementation. Additionally, the Court

also established in the August 31st Order that the “cost of repairing and improving the

Centennial Lake dam and embankments shall be borne by [Defendant] Stephen Samost.” (Id. at

Pg. 4, ¶ 1b).

        29.     The August 31st Order further required Plaintiff Joseph Samost to be responsible

for reimbursement to the Pines Club for the long-standing maintenance of Centennial Lake,

which obligation, as mentioned, was settled in November, 2001.

        30.     This Court subsequently conducted a settlement conference on January 28, 2002,

at which time the parties agreed that Defendants shall assume ownership of the Centennial Lake

property, the lakebed, the adjacent embankment, and the dam as part of the parties’ settlement of

the Federal Case (collectively, the “Dam and Lake Property”). As such, as of that point in

time, Plaintiff no longer possessed any ownership interest in these assets, but rather had

conveyed any and all interest he had therein to the Defendants.


                The 2004 State Court Case

                A. NJDEP’s Claims Against Joseph Samost, Stephen Samost, CLDC, and
                   Devel Under New Jersey’s Safe Dam Act And The State Court’s
                   Apportionment of Liability.

        31.     On or about May 11, 2004, the NJDEP instituted litigation in the New Jersey

Superior Court, Burlington County, under the caption State of New Jersey, Department of

Environmental Protection v. Centennial Land & Development Corp., et al, , Docket No. BUR-

000077-04 (defined in paragraph 5 above as the “State Court Case”), against CLDC, the

Township of Medford, the County of Burlington and Centennial Pines Club.

        32.     In its Complaint, NJDEP sought to compel an inspection report, operation and

maintenance plan, design report, and repairs to Centennial Lake dam. Because Plaintiff did not

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have an ownership interest in the Dam and Lake Property, Plaintiff was not originally named as a

defendant in the State Court Case. Rather the only defendants originally named in the State

Court Case were the defendants identified above, including Defendant Stephen Samost’s

controlled CLDC.

       33.     In its original pleading, the NJDEP in fact acknowledged that this Court approved

the settlement in the Federal Case and entered an Order of Dismissal, and in connection

therewith Plaintiff relinquished any ownership interest in the Dam and Lake Property to the

Defendants in this case. (Exh. “B”, relevant excerpts of the State Court Complaint at p. 11, ¶

35) (the “Complaint”). In the Complaint, NJDEP stated as follows:

                     On information and belief, a settlement was reached in that matter,
                     whereby complete ownership and control of Centennial LDC was
                     transferred from Joseph Samost to Devel, a limited liability company
                     controlled by Stephen Samost. The Court approved the settlement and
                     entered an Order of Dismissal on July 25, 2000.

(Id. Complaint at p. 11, ¶ 35).


       34.     On or about September 2, 2005, NJDEP filed an Amended Complaint and added Steven D.

Samost and Devel, LLC as defendants. (Exh. “C”, relevant excerpts of the “Amended Complaint”). In

its Amended Complaint, NJDEP again acknowledged Judge Irenas’ August 31, 2001 Order in the Federal

Case, the Federal Court’s Order of Dismissal, and the fact that complete ownership and control of CLDC

was transferred from Joseph Samost to Devel, LLC. (Amended Complaint at p. 12, ¶ 39).

       35.     On or about August 11, 2008, the NJDEP filed a Second Amended Complaint,

adding Plaintiff Joseph Samost as a defendant in that action (Exh. “D”, relevant excerpts of the

“Second Amended Complaint”) In it (Count One, ¶ 47 and Count Three, ¶ 54), NJDEP alleged

claims pursuant to the New Jersey Safe Dam Act, N.J.S.A. 58:4-1 to -10 against the defendants,

including Joseph Samost, based on the allegation that each defendant “owned” or “controlled”

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CLDC at times during the relevant time period, and therefore each had repair and maintenance

responsibilities for the dam at various times during the NJDEP’s jurisdiction over the matter.

       36.     The NJDEP nonetheless still acknowledged in its Second Amended Complaint,

Judge Irenas’ August 31, 2001 Order, the Federal Case’s settlement, the Federal Court’s Order of

Dismissal, and the fact that complete ownership and control of CLDC was transferred from

Joseph Samost to Devel, LLC. (Second Amended Complaint at pp. 12-13, ¶ 39).

       37.     On or about March 9, 2012, the State Court entered an Order and Opinion in the

State Court Case apportioning dam repair liability and costs among the defendants in that action

as follows: 45% to Joseph Samost, 45% to Stephen Samost, and 10% to the Pines Club (the

“Allocation Decision”).

       38.     In so ordering, the State Court based its decision primarily on an interpretation of

New Jersey’s Safe Dam Act, N.J.S.A. 58:4-1 to -10, and the fact that each of the above

defendants in that case, Joseph Samost, Stephen Samost and the Pines Club bore some

responsibility to maintain and repair the dam at various times.

       39.     In its ruling, however, the State Court specifically carved out from its decision

any resolution of whether Plaintiff, Joseph Samost, could seek indemnification and/or

contribution from the above-named Defendants. In accordance therewith, the Court noted during

an October 2012 oral argument that any action by Joseph Samost against the defendants named

herein for indemnification and/or contribution was not before the Court and therefore would not

be decided. (Exh. “E”, relevant excerpts of the transcript of October 12, 2012 State Court

hearing at 72:17-22).

       40.     In fact, Defendant Stephen Samost acknowledged as much when he argued before

the State Court that if Plaintiff has a claim against Defendants for indemnification and/or



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contribution pursuant to Federal Court’s August 31, 2001, Plaintiff should bring his claim in this

Court rather than before the State Court in the State Court Case so that this Court can interpret its

own Orders.     (Exh. “E”, transcript of October 12, 2012 hearing, at 26:11-19; 27:2-12; see also

Exh. “F”, letter dated September 10, 2012 from Stephen D. Samost, Esquire to Honorable Karen

L. Suter, P.J.Ch., at 3-4 ).

        41.     Similarly, Defendants CLDC and Devel also acknowledged that any claim by

Joseph Samost for indemnification and/or contribution was not properly before the State Court,

but rather should be asserted, if anywhere, before this Court so that the Court can interpret its

own Orders. (Exh. “G”, letter dated September 10, 2012 from Paul Leodori, Esquire to

Honorable Karen L. Suter, P.J.Ch., at 2).



                B. The Pine’s Club Claim Against Joseph Samost For Post-Federal
                   Case Settlement Maintenance And Repair Costs.

        42.     On or about September 26, 2007 the Pines Club filed a Third Party Complaint

against Plaintiff, Joseph Samost seeking reimbursement for costs and expenses relating to the

maintenance of the Pines Club beach at Centennial Lake for the time period of 2001 through

2012. Specifically, Pines Club sought a judgment in the amount of $147,402.12.

        43.     On October 31, 2012, the Superior Court entered judgment against Joseph Samost

in the amount of $147,402.12 (the “Pines Club Judgment”). In the State Court’s Statement of

Reasons accompanying its October 2012 Order, the Court again did not address whether the

Federal Court settlement required the Defendants here to indemnify Plaintiff, Joseph Samost,

and expressly refused to permit Plaintiff to amend his claims in that action to assert such claims

for indemnification against Stephen Samost, CLDC and Devel there because the case was too far

advanced at that point. (“Exh. “H”, relevant excepts of the State Court’s October 31, 2012)

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       44.     On February 22, 2013, the State Court entered an Order which amended and

corrected the Pines Club Judgment against Joseph Samost, nunc pro tunc, to $176,999.14.

                                          COUNT ONE
                                      Declaratory Judgment
                         (Plaintff v. Stephen Samost, CLDC and Devel)

       45.     Plaintiff refers to paragraphs 1 through 44 and incorporates them herein by

reference.

       46.     A real controversy exists between Plaintiff and Defendants regarding Defendants’

obligations for the cost of repairing and improving the Centennial Lake dam and embankments

pursuant to the August 31st Order and settlement of the Federal Case.

       47.     Plaintiff requests that the Court grant Plaintiff declaratory relief declaring, inter

alia, (a) enforcing the terms of the parties’ Federal Case settlement and thereby compelling

Defendants to indemnify and hold Plaintiff harmless for any costs associated with the repair and

improvement of the Dam and Lake Property from 2001 through present; (b) that Defendants are

jointly and severally responsible for satisfying the Pines Club Judgment, as amended on

February 22, 2013; and that (c) Defendants are jointly and severally responsible for all of

Plaintiff’s litigation expenses including, but not limited to, reasonable attorney’s fees incurred

both in this case and in the State Court case as the result of Defendants’ failure or refusal to

abide by the terms of their obligations under the Federal Case settlement.

                                          COUNT TWO
                                      Specific Performance
                        (Plaintiff v. Stephen Samost, CLDC and Devel)

       48.     Plaintiff refers to paragraphs 1 through 47 and incorporates them herein by

reference.




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       49.     Plaintiff seeks an order enforcing the terms, conditions and provisions of

Plaintiff’s rights under his settlement in the Federal Case, and the terms of the Courts’ August

31st Order, and thereby compelling Defendants, jointly and severally, to perform any and all

repairs, maintenance or other actions as may be required by the State Court in the State Court

Case relating to the Dam and Lake Property, and to indemnify and hold the Plaintiff harmless

against any and all liability relating thereto including, but not limited to, indemnifying and

holding the Plaintiff harmless on the aforementioned Pines Club Judgment.

       50.     Plaintiff has no adequate remedy at law to enforce the provisions of the August

31st Order other than to compel specific enforcement of the terms, conditions and provisions of

the Order.

                                         COUNT THREE
                                        Breach of Contract
                            (Plaintiff v. Stephen Samost, CLDC and Devel)

       51.     Plaintiff refers to paragraphs 1 through 50 and incorporates them herein by

reference.

       52.     Pursuant to the Federal Case settlement, Defendants accepted the exclusive

ownership of the Centennial Lakes subdivision and its constituent building lots, together with the

Centennial Lake, lakebed, embankment, dam and surrounding property. With that ownership,

Defendants assumed all of the obligations relating thereto including, but not limited to, (a)

CLDC’s and Plaintiff’s obligations under the 1985 Pines Club agreement; and (b) the repair and

maintenance obligations for the Dam and Lake Property.

       53.     Pursuant to that settlement, Defendants acquired title to the Centennial Lakes

subdivision and thus sold lots and property within that subdivision, and consequentially, either




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directly and/or indirectly, made millions of dollars, all to the exclusion of Plaintiff, Joseph

Samost.

       54.     The terms of this settlement therefore created contractual responsibilities between

the parties which Plaintiff seeks to enforce in this litigation. By virtue of the Defendants’ failure

or refusal to abide by their contractual responsibilities to maintain and repair the Centennial Lake

dam and surrounding properties, Plaintiff has been adjudicated partially responsible for costs,

expenses and responsibilities that the Defendants plainly assumed in the Federal Case settlement.

       55.     By their actions and inactions described herein, Defendants have materially

breached their obligations under the Federal Case settlement.

       56.     As a direct and proximate result of Defendants’ material breaches as alleged

herein, Plaintiff has been damaged in an amount to be proven at trial, but believed to exceed the

amount of $176,999.14 of the Pines Club Judgment, plus any additional damages Plaintiff will

suffer if Defendants’ material breaches are allowed to continue.



                                         COUNT FOUR
                                        Unjust Enrichment
                        (Plaintiff v. Stephen Samost, CLDC and Devel)

       57.     Plaintiff refers to paragraphs 1-56 and incorporates them herein by reference.

       58.     By virtue of the foregoing Stephen Samost has been unjustly enriched.

       59.     As a direct and proximate result of Defendant’s actions and inactions described

herein, Plaintiff has been damaged in an amount to be proven at trial, but believe to exceed the

amount of $176,999.14 of the Pines Club judgment, plus any additional damages Plaintiff will

suffer if Defendants’ material breaches are allowed to continue.




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                                         COUNT FIVE
                                      Tortious Interference
                       (Plaintiff v. Stephen Samost, CLDC and Devel)

       60.     Plaintiff refers to paragraphs 1 through 59 and incorporates them herein by

reference.

       61.     Plaintiff Samost reasserts his position that he entered into Agreements

contractually obligating him individually to perform Centennial lake and beach maintenance.

       62.     Nevertheless, the State Court litigation resulted in an Order deeming him

personally obligated which resulted in the aforesaid judgment of $176,999.14 in favor of the

Pines Club.

       63.     To the extent that a contract existed between Plaintiff herein and the Pines Club

obligating the Plaintiff to perform beach and lake maintenance, based upon the actions and

inactions described above, Defendant Stephen Samost tortiously interfered with those contracts

and/or otherwise deprived Joseph Samost of the benefit of those contracts and/or increased

Joseph Samost’s financial obligations pursuant thereto.

       64.     Specifically, the Pines Club refused to accept and caused the rescission of a

certain Deed transferring ownership of the lake and dam to the Pines Club for the specific reason

that Stephen Samost and/or CLDC/Devel failed to perform the repairs to the Centennial Lake

Dam deemed necessary by the NJDEP.

       65.     As a direct and proximate result of the Pines Club’s claim that Joseph Samost’s

alleged obligation to perform beach and lake maintenance was extended which resulted in the

aforesaid judgment of $176,999.14.

       66.     As a direct and proximate result of Defendants’ actions and inactions described

above, Plaintiff has been damaged in an amount to be proven at trial, but believed to exceed the



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amount of $176,999.14 of the Pines Club judgment, plus any additional damages Plaintiff will

suffer if Defendants’ material breaches are allowed to continue.

                                            COUNT SIX
                                       Equitable Subrogation
                         (Plaintiff v. Stephen Samost, CLDC and Devel)

         67.    Plaintiff refers to paragraphs 1 through 66 and incorporates them herein by

reference.

         68.    Pursuant to the Federal Case settlement in 2001, Defendants accepted the

exclusive ownership of the Centennial Lake, lakebed, embankment, dam and surrounding

property, thereby assuming CLDC’s and Plaintiff’s obligations under the 1985 Pines Club

agreement and the repair and maintenance obligations for the Dam and Lake Property.

         69.    Notwithstanding the above, Plaintiff is being compelled to satisfy Defendants’

clearly delineated obligations under the Federal Case settlement pursuant to the State Court’s

October 31, 2012 judgment and the subsequent amending Order of February 22, 2013, which

held Plaintiff liable to the Pines Club in the amount of $176,999.14 for reimbursement of costs

and maintenance expenses of the Centennial Lake property for the time period of 2001 through

2012.

         70.    As a result of satisfying the obligations that Defendants should have paid pursuant

to the Federal Case settlement, Plaintiff is entitled to reimbursement from Defendants in the

amount of $176,999.14.

                                      RELIEF REQUESTED

         WHEREFORE, Plaintiff Joseph Samost prays that judgment be entered in his favor as

follows:

    1.          On its first claim for relief, for a declaration declaring the following: (a) enforcing

the terms of the parties’ Federal Case settlement, and thereby compelling Defendants to

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indemnify and hold Plaintiff harmless for any costs associated with the repair and improvement

of the Dam and Lake Property from 2001 through present; (b) that Defendants are jointly and

severally responsible for satisfying the Pines Club Judgment; and (c) that Defendants are jointly

and severally responsible for all of Plaintiff’s litigation expenses including, but not limited to,

reasonable attorney’s fees incurred both in this case and in the State Court case as the result of

Defendants’ failure or refusal to abide by the terms of their obligations under the Federal Case

settlement.

    2.         On his second claim for relief, judgment against the Defendants for specific

performance of the terms, conditions and provisions of the Federal Case settlement (a)

compelling the Defendants to jointly and severally perform any and all repairs, maintenance or

other actions as may be required by the State Court in the State Court Case, and/or any other

instrumentality of government, including but not limited to the NJDEP, relating to the Dam and

Lake Property, and (b) to indemnify and to hold the Plaintiff harmless against any and all

liability relating thereto including, but not limited to, indemnifying and holding the Plaintiff

harmless on the aforesaid Pines Club Judgment;

    3.         On his third claim for relief, for damages exceeding the sum of $176,999.14

assessed against the Plaintiff in the State Court Case on the Pines Club Judgment, plus any

additional damages Plaintiff will suffer if Defendants continue to breach the contract;

    4.         On his fourth claim for relief, for damages exceeding the sum of $176,999.14

assessed against the Plaintiff in the State Court Case on the Pines Club Judgment, plus any

additional damages Plaintiff will suffer if Defendants continue to breach the contract;




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    5.         On his fifth claim for relief, for damages exceeding the sum of $176,999.14

assessed against the Plaintiff in the State Court Case on the Pines Club Judgment, plus any

additional damages Plaintiff will suffer if Defendants continue to breach the contract;

    6.         On his sixth claim for relief, for damages exceeding the sum of $176,999.14

assessed against the Plaintiff in the State Court Case on the Pines Club Judgment, plus any

additional damages Plaintiff will suffer if Defendants continue to breach the contract;

    7.         For reasonable attorneys’ fees and costs incurred both in this matter and the

related State Court Case; and

    8.         For such other and further relief as the Court deems just and proper.




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                     CERTIFICATION PURSUANT TO L.CIV.R. 11.2


       Pursuant to Local Civil Rule 11.2, I, Gregory A. Lomax, the undersigned attorney of

record for Plaintiff Joseph Samost, do hereby certify based on my own knowledge and based

upon information available to me at my office, the matter in controversy is substantially related

to the litigation between the Plaintiff and Defendant, Stephen Samost, in this Court before the

Honorable Joseph E. Irenas, U.S.D.J, in the matter of Samost v. Samost, et al, Civil Action No.

99-3035 (JEI). The matter in controversy contains similar questions of law and fact as in the

prior proceeding before this Court.




By: /s/ Gregory A. Lomax                             By:    /s/ Thomas J. Hagner
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Attorneys for Plaintiff, Joseph Samost               Attorneys for Plaintiff, Joseph Samost



Dated: November 13, 2013




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